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 9                             UNITED STATES DISTRICT COURT
10                            CENTRAL DISTRICT OF CALIFORNIA
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12   RACHEL NAZARIAN,                               CASE NO.: 2:19-cv-04391-DSF (Ex)
13               Plaintiff,                         BEFORE THE HONORABLE
                                                    DALE S. FISCHER
14   v.                                             COURTROOM 7D
15   CITY OF BEVERLY HILLS, BEVERLY
     HILLS POLICE DEPARTMENT CHIEF                  ORDER RE JOINT STIPULATION
16   SANDRA SPAGNOLI, individually and              FOR DISMISSAL
     in her official capacity, OFFICER
17   STEPHANIE NGUYEN-LIEU (#04839),                HEARING DATES PENDING:
     individually and as a peace officer,
18   OFFICER MICHAEL DOWNS,                         None
     individually and as a peace officer,
19   OFFICER AARON MORI, individually
     and as a peace officer, OFFICER
20   ALEXANDER RHEE, individually and as
     a peace officer, OFFICER CONTRERAS,
21   individually and as a peace officer, and
     Does 1-10,
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                 Defendants.
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 1          GOOD CAUSE APPEARING, and in accordance with the parties’ Joint
 2   Stipulation for Dismissal Pursuant to Federal Rules of Civil Procedure Rule 41, the
 3   above-entitled action (2:19-cv-04391-DSF (Ex)) is dismissed in its entirety, with
 4   prejudice.
 5         IT IS SO ORDERED.
 6   DATED: November 30, 2021
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                                         Honorable Dale S. Fischer
 8                                       UNITED STATES DISTRICT JUDGE
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